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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED COMMUNITIES, LLC,

                          Plaintiff,

                   v.                                 Civil Action No.: 21-0394 (KBJ)

  U.S. DEPARTMENT OF DEFENSE,

                          Defendant.


                                              ANSWER

        Defendant, United States Department of Defense, by and through counsel, hereby responds

to Plaintiff’s Complaint as follows:

                                            RESPONSES

        Defendant responds to the separately numbered paragraphs and prayer for relief contained

in the Complaint below. To the extent that any allegation is not admitted herein, it is denied.

Moreover, to the extent that the Complaint refers to or quotes from external documents, statutes,

or other sources, Defendant may refer to such materials for their accurate and complete contents;

however, Defendant’s references are not intended to be, and should not be construed to be, an

admission that the cited materials: (a) are correctly cited or quoted by Plaintiff; (b) are relevant to

this, or any other, action; or (c) are admissible in this, or any other, action.

        Defendant answers as follows:

        Plaintiff’s introductory paragraph contains Plaintiff’s characterization of this action, not

allegations of fact, to which no response is required. To the extent a response is deemed necessary,

Defendant denies.
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JURISDICTION AND VENUE 1

       1.       This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

       2.       This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

       3.       This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

       4.       This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

       5.       This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

PARTIES

       6.       Defendant lacks sufficient information or knowledge with which to form a belief

as to the truth of the allegations contained in this paragraph.

       7.       Admit.

       8.       This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.

STATEMENT OF FACTS
FOIA Request 17-F-0593

       9.       Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.


1
 For ease of reference, Defendant refers to Plaintiff’s headings and titles, but to the extent those
headings and titles could be construed to contain factual allegations, those allegations are denied.



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       10.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       11.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       12.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       13.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       14.      This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

       15.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       16.      Admit.

FOIA Request 17-F-0594

       17.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.




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       18.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       19.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       20.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       21.      This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

       22.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       23.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       24.      Admit.

FOIA Request 17-F-0708

       25.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       26.      Admit.




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       27.      Admit. By way of further response, Defendant avers that the letter was dated

June 16, 2017. Further, Defendant respectfully refers the Court to the cited material for a full and

accurate statement of its contents and denies any allegation inconsistent therewith.

       28.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       29.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       30.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       31.      This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.

       32.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       33.      Admit.

FOIA Request 21-F-0179

       34.      Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

       35.      This paragraph contains conclusions of law, not allegations of fact, to which no

response is required.


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          36.   Admit. By way of further response, Defendant respectfully refers the Court to the

cited material for a full and accurate statement of its contents and denies any allegation inconsistent

therewith.

          37.   This paragraph contains Plaintiff’s characterization of its FOIA request, not

allegations of fact, to which no response is required. By way of further response, Defendant

respectfully refers the Court to the referenced request for a full and accurate statement of its

contents and denies any allegation inconsistent therewith.

          38.   This paragraph contains Plaintiff’s characterization of a Government report, not

allegations of fact, to which no response is required. By way of further response, Defendant

respectfully refers the Court to the cited report for a full and accurate statement of its contents and

denies any allegation inconsistent therewith.

          39.   Defendant lacks sufficient information or knowledge with which to form a belief

as to the truth of the allegations contained in this paragraph.

COUNT I
(Violation of FOIA, 5 U.S.C. § 552)

          40.   Defendant incorporates its responses to paragraphs 1-39 above as if set forth fully

herein.

          41.   Admit.

          42.   This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.

          43.   This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.

          44.   This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.



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        45.     This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.

        46.     This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.

        47.     This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required. To the extent a response is deemed necessary,

Defendant denies.

        48.     This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required. To the extent a response is deemed necessary,

Defendant denies.

        49.     This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.

        50.     This paragraph contains Plaintiff’s argument and conclusions of law, not

allegations of fact, to which no response is required.

        The remaining portions of Plaintiff’s Complaint contain its request for relief, to which no

response is required. To the extent a response is deemed necessary, Defendant denies that Plaintiff

is entitled to the relief requested, or to any relief whatsoever.

                                    ADDITIONAL DEFENSES

        Defendant alleges the following additional defenses to the Complaint. In asserting these

defenses, Defendant does not assume the burden to establish any fact or proposition where that

burden is properly imposed upon Plaintiff.

        1.      Plaintiff has failed to state a claim.




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       2.      Plaintiff is not entitled to compel the release of information protected from

disclosure by one or more FOIA exemptions or exclusions.

       3.      This Court lacks subject matter jurisdiction over any of Plaintiff’s requests for relief

that exceed the relief authorized by FOIA.

March 22, 2021                                Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              D.C. Bar #415793
                                              Acting United States Attorney

                                              BRIAN P. HUDAK
                                              Acting Chief, Civil Division

                                      By:     /s/ Brian J. Field
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